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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )
                                             )                 8:13CR314
                     Plaintiff,              )
                                             )
       vs.                                   )                   ORDER
                                             )
ANISHA MARTINEZ,                             )
                                             )
                     Defendant.              )

        This matter is before the court on the Petition for Action on Conditions of Pretrial
Release (Petition) regarding defendant Anisha Martinez (Martinez) (Filing No. 71). On
August 28, 2013, Martinez was ordered released upon conditions pending further
proceedings (Filing No. 22). Martinez was to reside at Ogallala, Nebraska, and abide by
other conditions of release. On November 14, 2013, Pretrial Services Officer Todd
Beacom submitted a Petition alleging Martinez had violated the conditions of her release
by failing to report to her Pretrial Services officer, by failing to maintain employment, by
failing to participate in substance abuse treatment, and by associating with persons
suspected to have been involved in drug use or trafficking or weapons trafficking without
the approval of her Pretrial Services officer. A warrant for Martinez’s arrest was issued.
        Martinez appeared before the court on December 4, 2013. Martinez was
represented by Jason E. Troia and the United States was represented by Assistant U.S.
Attorney Meredith B. Tyrakoski. After being advised of the nature of the allegations, her
rights, and the consequences if the allegations were found to be true, Martinez, through
counsel, denied the allegations. The government moved for detention. A combined
preliminary and detention hearing was scheduled for December 17, 2013.
        On December 17, 2013, Martinez again appeared before the court. Martinez was
represented by Jason E. Troia and the United States was represented by Assistant U.S.
Attorney Kimberly C. Bunjer. Martinez admitted the allegations of the Petition. The court
finds the allegations of the petition are generally true and Martinez has violated the
conditions of her release.
        Martinez waived a hearing on detention subject to a further motion to review. The
court took judicial notice of the Pretrial Services Violation Report (Filing No. 82). After
providing both parties an opportunity for allocution as to disposition and considering the
report of Pretrial Services, I find the Order Setting Conditions of Release should be
revoked. Martinez has demonstrated she is unable to comply with the conditions of her
release.

      IT IS ORDERED:
      1.     The Petition For Action on Conditions of Pretrial Release (Filing No. 71) is
granted.
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       2.      The August 28, 2013, Order Setting Conditions of Release of Anisha
Martinez (Filing No. 22) is hereby revoked.
       3.      The defendant is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States marshal for the purpose of an appearance in connection
with a court proceeding.

       DATED this 17th day of December, 2013.

                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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